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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

ROBERT J DIMLER,

      Plaintiff,

v.                                                       Case No: 8:20-cv-1926-T-30JSS

PRESTIGE CHRYSLER JEEP DODGE
LLC and CHRYSLER CAPITAL AUTO
FINANCIAL,

      Defendants.


                                           ORDER

      THIS CAUSE came on for consideration upon the Report and Recommendation

submitted by Magistrate Judge Julie S. Sneed (Dkt. 7).   The Court notes that Plaintiff has

not filed written objections to the Report and Recommendation and the time for filing such

objections has elapsed. The Plaintiff did file a motion for an extension of time to file an

amended complaint (Dkt. 8).

      After careful consideration of the Report and Recommendation of the Magistrate

Judge in conjunction with an independent examination of the file, the Court is of the

opinion that the Magistrate Judge’s Report and Recommendation should be adopted,

confirmed, and approved in all respects.

       ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:
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      1.     The Report and Recommendation (Dkt. 7) of the Magistrate Judge is

             adopted, confirmed, and approved in all respects and is made a part of this

             order for all purposes, including appellate review.

      2.     Plaintiff’s Motion for Leave to Proceed in Forma Pauperis (Dkt. 5) is

             DENIED without prejudice.

      3.     Plaintiff’s Motion for Extension of Time (Dkt. 8) is granted to the extent that

             he has twenty (20) days to file a second amended complaint.

      4.     Plaintiff’s Amended Complaint (Dkt. 4) is DISMISSED without prejudice

             and with leave to file a second amended complaint that sets forth facts to

             support the exercise of personal jurisdiction over Defendants, if any. Failure

             to file a second amended complaint within twenty (20) days of this Order will

             result in the closure of this case without further notice.

      DONE and ORDERED in Tampa, Florida, this 9th day of November, 2020.




Copies Furnished To:
Counsel/Parties of Record




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